Case 4:05-cv-00329-GKF-SH               Document 3137-2 Filed in USDC ND/OK on 12/17/24                         Page 1
                                                   of 1

                             UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OKLAHOMA



State of Oklahoma, et al.
                                           Plaintiff(s),     Case Number: 05-cv-00329-GKF-SH
vs.

Tyson Foods, Inc., et al.
                                         Defendant(s).


                              WITNESS LIST FOR EVIDENTIARY HEARING

 SUBMITTED BY ATTORNEY: Gordon D. Todd

 PARTY REPRESENTED: Tyson Foods, Inc., Tyson Poultry, Inc., Tyson Chicken, Inc., Cobb-
 Vantress, Inc.

  No              Name (Do NOT Include Addresses)           Date/Time of Testimony (To Be Completed By Clerk)
            John Connolly                                  12/6/24: 9:23 am – 12:13 pm; 1:16 – 2:26 pm
            Todd C. McDonnell                              12/17/24: 9:26 am – 12:00 pm
            Nigel Pickering
            Dimitrios Vlassopoulos                         12/16/24: 9:10 – 11:08 am
            Patrick Fisk                                   12/16/24: 11:09 am – 12:02 pm; 1:07 – 2:45 pm
            Tim Alsup                                      12/17/24: 9:14 – 9:25 am
            Eric Bailey
            Kevin Doyle
            Teena Gunter
            Matt Lawson
            Jerri Mitchell
            Bob Norvell
            Oklahoma Dept. of Agriculture, Food,
            and Forestry Records Custodian
            Shanon Phillips
            Brent Russell
            Rusty Sikes
            Charlie Solomon
            Rick Stubblefield                              12/16/24: 2:56 – 3:58 pm
Submit to Courtroom Deputy (Do NOT File)

                                                                              Witness List for Trial/Hearing CV-15A (6/2014)
